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                   BEFORE THE UNITED STATES JUDICIAL PANEL
                        ON MULTIDISTRICT LITIGATION

IN RE: NATIONAL PRESCRIPTION OPIATE LITIGATION

MDL No. 2804

                         AMENDED CERTIFICATE OF SERVICE

        I hereby certify that on the 9th day of December 2019, I caused to be served a true and
correct copy of the Notice of Potential Tag-Along Actions upon the counsel listed on the
attached Service List via the means described therein.



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           Case IAS/4:19-cv-00386 Document 1 Filed 12/09/19 Page 2 of 7



                               AMENDED SERVICE LIST

Estate of Becky McIlrath, by and through its co-administrators, Jaren Depenning and Beverly
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